 Case 6:22-cv-00286-PGB-LHP Document 8 Filed 02/23/22 Page 1 of 2 PageID 91




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

EDMEE MARTINEZ, JANE DOE NO.
1, JANE DOE NO. 2, and JANE DOE
NO. 3,
      Plaintiffs,
                                             CASE NO :6:22-CV-00286-PGB-LHP
      v.
JOHN GILLESPIE, MARK
FETHERMAN, JOHN GILLESPIE
LAW, P.A., and BREVARD
CRIMINAL ATTORNEYS, P.A.,
      Defendants.



       CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                    DISCLOSURE STATEMENT

   I hereby disclose the following pursuant to this Court’s Order on Interested
Persons and Corporate Disclosure Statement:

   1. The name of each person, attorney, association of persons, firm, law firm,
      partnership, and corporation that has or may have an interest in the outcome
      of this action — including subsidiaries, conglomerates, affiliates, parent
      corporations, publicly-traded companies that own 10% or more of a party’s
      stock, and all other identifiable legal entities related to any party in the case:

             Lisa D. Haba, The Haba Law Firm, P.A., Attorney for Plaintiffs
             Edmee Martinez, Plaintiff
             Jane Doe Nos. 1-3, Plaintiffs
             John Gillespie, Defendant
             Mark Fetherman, Defendant
             John Gillespie Law, P.A., Defendant
             Brevard Criminal Attorneys, P.A., Defendant
             Leon Gillespie and Associates, P.A., related entity
             Gillespie Law Group, P.A., related entity
             John Gillespie, P.A., related entity
             LAWJG, P.A., related entity
Case 6:22-cv-00286-PGB-LHP Document 8 Filed 02/23/22 Page 2 of 2 PageID 92




            Acosta Garcia Gillespie & Young, P.A., related entity
            Acosta-Garcia Law, P.A., related entity
            Gillespie Law & Mediation, P.A., related entity
            Mullins & Gillespie, P.A., related entity
            Gillespie Santiago, P.A., related entity
            Gillespie Kagan Law, P.A., related entity
            Gillespie Law Firm, P.A., related entity
            Duarte Gillespie, P.A., related entity
            Kagan & Gillespie, P.A., related entity

  2. The name of every other entity whose publicly-traded stock, equity, or debt
     may be substantially affected by the outcome of the proceedings:

            None

  3. The name of every other entity which is likely to be an active participant in the
     proceedings, including the debtor and members of the creditors’ committee (or
     twenty largest unsecured creditors) in bankruptcy cases:

            None

  4. The name of each victim (individual or corporate) of civil and criminal
     conduct alleged to be wrongful, including every person who may be entitled to
     restitution:

            Edmee Martinez, Plaintiff
            Jane Doe Nos. 1-3, Plaintiffs

  5. I certify that I am unaware of any actual or potential conflict of interest
     involving the District Judge and Magistrate Judge assigned to this case and
     will immediately notify the Court in writing on learning of any such conflict.



DATED: February 23, 2022                        /s/ Lisa D. Haba
                                                Lisa D. Haba (FBN 077535)
                                                THE HABA LAW FIRM, P.A.
                                                1220 Commerce Park Dr., Suite 207
                                                Longwood, FL 32779
                                                Telephone: (844) 422-2529
                                                lisahaba@habalaw.com



                                            2
